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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NEW YORK


CHERYL RADIX, JULIAN
CARRINGTON, AUDRA HEAVEN, JIGAR
PATEL, and ACHEBE SAM, on behalf of                  Case No. 1:22-cv-06632(FB)(RML)
themselves and all others similarly situated,

                                   Plaintiffs,

       vs.

KENSINGTON INTERNATIONAL, INC.,
JOHN GELIN, EYAN EDWARDS, RHINA
HERNANDEZ, RICARDO BLACK,
KENNSINGTON CAPITAL GROUP, LLC,
THE BUSINESS BUYERS CLUB, LLC,
ARTIST SOLUTIONS, LLC D/B/A ARTIST
FINANCIAL PROGRAMS or UNKNY,
ULTIMATE BETTER WORLD
SOLUTIONS LLC, FINANCIAL SAVER
NETWORK, INC. D/B/A E-FUNDING
COMPANY, KAY VANG-THAO, BURKE
MCFARLAND A/K/A NOEL
MCFARLAND, and SOUTHERN LAND
PARTNERS, LLC,

                                 Defendants.



                      REPORT OF THE PARTIES PLANNING MEETING;
                             PROPOSED DISCOVERY PLAN


       Phase I (Pre-Settlement Discovery)

       1.     The following persons participated in a Rule 26(f) conference on May 17, 2023 by

telephone: Dimitrios Kourouklis, Ph.D., attorney for Defendants Ultimate Better World Solutions,

LLC and Ricardo Black, and Mastewal T. Terefe, attorney for Plaintiffs.




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        2.     Plaintiffs Cheryl Radix, Audra Heaven, and Achebe Sam’s deadline respond to

Defendants UBWS and Ricardo Black’s counterclaims is extended to June 9, 2023.

        3.     Initial Disclosures. The parties will complete the initial disclosures required by

Rule 26(a)(1) by September 28, 2023.

        4.     The completion date for Phase I Discovery as agreed upon by the parties shall be

December 11, 2023.

        Phase II (Discovery and Motion Practice)

        5.     Any motion to join new parties, amend the pleadings, or consolidate with a related

case shall be made by December 15, 2023.

        6.     The date upon which first requests for production of documents and for

interrogatories to be served shall be July 14, 2023.

        7.     All discovery shall be completed by February 9, 2024.

        8.     The use of experts is not anticipated and thus the exchange of expert reports and

completion of expert depositions is not applicable.

        9.     Completion of all discovery shall be performed by February 26, 2024.

        10.    The final date to take the first step in dispositive motion practice shall be March 15,

2024.

        Dated: New York, NY
               May 17, 2023
                                                       Respectfully submitted,

                                                       THOMPSON & SKRABANE, PLLC

                                                       By:    ______________________________

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                                                Counsel for Plaintiffs and the
                                                Putative Class


                                          LAW OFFICE OF DIMITRIOS
                                          KOUROUKLIS, PH.D.

                                                 Dimitrios Kourouklis
                                          By:   ______________________________

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                                                Attorneys for Defendants Ultimate
                                                Better World Solutions, LLC and
                                                Ricardo Black




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